CVO is 0 1! NO | “| 4 IDE z “BECAUS nicK 7M at .

e a“ el iv . .

ae .y
ei = om a e
\

BETWEEN Us fi tu We ARE FIGHTING FOR N Of ae AAW a
— We are figuring For (5 OD & yOu ARE FIGHTING FOR WORLDLY GAIN: WE J |
BRIN ror. US'TICE. BECAUSE WE ARE DEFENDING OUR LAND AND OUR FAMILIES.
ae

ano you are Figutine for | MPERIALISTIC GOAI

We ARE FIGHTING FOR L RUTH & ) USTICE AND
You ARE FIGHTING FOR Op RESSION”

vi
mM Ab

Sa of vv

ova eoonk)

Oiecoscuneil seem ae Elliels By geo AIPA

 

| E18 tal ie) ciel Pa ean
